Case 0:22-cv-60189-CMA Document 20 Entered on FLSD Docket 03/03/2022 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                             FORT LAUDERDALE DIVISION

                                Case No.: 0:22-cv-60189-CMA

   Ingrid Farquharson,

           Plaintiff,

   v.

   Bank of American, N.A.; JP Morgan Chase
   Bank, N.A.; Experian Information
   Solutions, Inc.; Equifax Information
   Services, LLC; and TransUnion, LLC,

           Defendants.
                                             /


           NOTICE OF SETTLEMENT AS TO DEFENDANT TRANSUNION, LLC

        Plaintiff Ingrid Farquharson, by and through undersigned counsel, hereby notifies

  the Court that Plaintiff has reached a settlement in the above-referenced matter with

  TransUnion, LLC (“TransUnion”). Plaintiff and TransUnion are in the process of

  finalizing the settlement, whereupon Plaintiff will move for dismissal with prejudice.

  Plaintiff anticipates that the settlement and dismissal of claims against TransUnion will

  be finalized within the next sixty (60) days. Plaintiff’s claims against remaining

  defendants remain pending.

  Dated: March 3, 2022

                                        /s/ Trescot Gear
                                        Gear Law, LLC
                                        1405 W. Swann Ave.
Case 0:22-cv-60189-CMA Document 20 Entered on FLSD Docket 03/03/2022 Page 2 of 2




                                         Tampa, FL 33606

                                         Mailing Address:
                                         McCarthy Law, PLC
                                         4250 North Drinkwater Blvd, Suite 320
                                         Scottsdale, AZ 85251
                                         Telephone: (602) 456-8900
                                         Fax: (602) 218-4447
                                         Attorney for Plaintiff



                                CERTIFICATE OF SERVICE

      I hereby certify that on March 3, 2022, I electronically transmitted the foregoing

  document to the Clerk’s Office using the ECF system for filing and transmittal of a Notice

  of Electronic Filing to all CM/ECF registrants of record in this matter.


                                         /s/Trescot Gear




                                               2
